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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 EDDYSTONE RAIL COMPANY, LLC,
                                               Case No. 2:17-cv-00495-JDW
                 Plaintiff,
       v.

 BRIDGER LOGISTICS, LLC, et al.

                  Defendants.


                                       ORDER

      AND NOW, this 9th day of March, 2022, upon consideration of Plaintiff

Eddystone Rail Company, LLC’s Motion To Modify Protective Order (ECF No. 532),

and for the reasons set forth in the accompanying Memorandum, it is ORDERED

as follows:

      1.      Eddystone’s Motion (ECF No. 532) is GRANTED IN PART;

      2.      Paragraph 20 of the Stipulated Protective Order (ECF No. 63) is

AMENDED as follows:

                  USE OF INFORMATION PRODUCED IN THIS LITIGATION

              20.    Absent a separate order by a court of appropriate jurisdiction,
      all documents, information and testimony produced in this Litigation by a
      Producing Party, regardless of designation (i.e., whether designated as
      "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY", or not
      designated), and the substance or contents thereof, including any notes,
      memoranda or other similar documents relating thereto, that is not
      otherwise publicly available, shall be used by the Party (or Parties) who
      receives the production ("Receiving Party") solely for the purposes of this
      Litigation (including for prosecuting, defending or attempting to settle this
      Litigation), or appeals of this Litigation, or for any Party to pursue claims for
      indemnification, contribution, enforcement, or insurance coverage related
      to this Litigation. Produced documents, information and testimony shall not
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      be disclosed, published, disseminated, or communicated to anyone, either
      directly or indirectly, or used in any other legal, regulatory and/or other
      proceeding (whether or not involving the same Parties), or for any other
      purpose, except as expressly allowed by this Protective Order.

             Pursuant to this Protective Order, Eddystone Rail Company, LLC may
      use documents, information, and testimony that Defendants have
      produced in this matter for the limited purpose of filing an amended
      complaint in the related matter pending in the United States District Court
      for the Southern District of New York: Eddystone Rail Company, LLC v. Bank
      of America, N.A. et al., Case No. 1:19-cv-09584 (GBD) (S.D.N.Y.) (the
      “Subsequent Transfer Litigation”).      For the avoidance of doubt, this
      paragraph applies only to the use of documents for preparation of an
      amended complaint in the Subsequent Transfer Litigation and only to
      documents that Defendants have produced, not to documents that any
      third party has produced.

            Nothing in this Protective Order shall prevent a Party from disclosing
      or using materials initially generated and maintained by it, or lawfully
      received by it, as it deems appropriate.

and

      3.     Ten days prior to filing a motion to amend the complaint or an

amended complaint in the Subsequent Transfer Litigation, Eddystone shall

provide Defendants with a copy of the proposed amended complaint in the

Subsequent Transfer Litigation, including any and all exhibits attached thereto, so

that Defendants may take appropriate measures to protect their confidential

information in that Litigation, to the extent necessary.

                                             BY THE COURT:


                                             /s/ Joshua D. Wolson
                                             JOSHUA D. WOLSON, J.




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